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                                                  CLERK'S OFFICE                                              CO-931
                                           UNITED STATES DISTRICT COURT                                      New 3/78

                    NOTICE OF DESIGNATION OF PENDING* RELATED CRIMINAL
                      CASE PURSUANT TO RULE 3-4, UNITED STATES DISTRICT
                            COURT FOR THE DISTRICT OF COLUMBIA

                                                                         Criminal Number:
                                                                         (To be supplied by the Clerk)
NOTICE TO PROSECUTOR:

         Pursuant to LCrR 57.12(a)(1) of this Court's Rules, you should prepare this form and submit it to the
Clerk's Office along with the indictments in any related cases. One copy is needed for the Clerk's records, once for
the Judge to whom the case is assigned, and one additional copy for each defendant. Therefore, in a one defendant
case you should submit 3 copies, for a two defendant case you should submit 4 copies, etc. The Clerk will mail
copies of this form to all defense counsel along with the arraignment notice.

NOTICE TO DEFENDANT:

         Rule LCrR 57.12(b)(1) of this Court's Rules requires that any objection by the defendant to the related case
designation shall be served on the U. S. Attorney and filed with the Clerk within 10 days after arraignment.

NOTICE TO ALL COUNSEL:

         Rule LCrR 57.12(b)(3) requires, in part, that as soon as an attorney for a party becomes aware of the
existence of a related case or cases, such attorney shall immediately notify in writing, the Judges on whose calendars
the cases appear and shall serve such notice on counsel for all other parties.

The prosecutor will please complete the following:

1.   Name of defendant(s):      Kassim Tajideen

2.   Number of related cases:     1:16-cv-00064-RBW and 1:17-cr-00046-RBW and 1:18-cv-00463-RBW

3.   Name of Judge assigned to related cases:     Hon. Reggie B. Walton

4.   Name of United States Court in which the related case is pending (if other than this Court:)

5.   Relationship of new case to related case: Criminal defendant Kassim Tajideen has filed claim in related
      civil forfeiture case regarding related conduct, and is a potential claimant in new civil forfeiture case

     [Check appropriate box(es)]

                  [ ]   (a)     New case is a superseding indictment.

                  [ ]   (b)     More than one indictment is filed or pending against defendant.

                  [X]   (c)     Prosecution against different defendant(s) arises from:

                                [ ] a common wiretap

                                [ ] a common search warrant

                                [X] activities which are a part of the same alleged criminal event or transaction

         (*) A case is considered pending until a defendant has been sentenced. [Rule 3-4(a)(1)]
